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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                )
In re:                                                          ) Chapter 11
                                                                )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                            ) Case No. 19-34054 (SGJ)
                                                                )
                                   Reorganized Debtor.          )
                                                                )

                                      CERTIFICATE OF SERVICE

       I, Patrick M. Leathem, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
above-captioned case.

       On September 22, 2023, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and on September 25, 2023 via Electronic Mail upon the service list
attached hereto Exhibit B:

•        The Highland Parties’ Response to Trustee’s Motion to Be Included in Mediation
         [Docket No. 3927]

Dated: September 28, 2023
                                                               /s/ Patrick M. Leathem
                                                               Patrick M. Leathem
                                                               KCC
                                                               222 N Pacífic Coast Highway, Suite 300
                                                               El Segundo, CA 90245




1
 The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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              Description                    CreditorName            CreditorNoticeName                    Email
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